Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 Page|D.lOO Page 1 of 7

STEPHEN R. DREW

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"‘ ALSO LICENSED IN OHIO

November 29, 2016

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NOTICE OF INTENT TO FILE CLAIM

Court of Claims Clerks’ Ofl`ice
Hall of Justice

925 W. OttaWa Street

P.O. Box 30185

Lansing, Ml 48909

VIA HAND DELIVERY

RE: Our Clients:

Potential Adverse Parties:

Potential Clairns:

To Whorn It May Concern:

Michigan State University

Office of the General Counsel
426 Auditoriurn Road, Room 494
East Lansing, MI 48824

Jane A. Doe (minor) by next friend Jane B. Doe,
Jane C. Doe, Jane D. Doe, lane E. Doe, Jane F. Doe,
lane G. Doe, lane H. Doe, lane l. Doe, Jane J. Doe,
Jane K. Doe (minor) by next friend lane L. Doe,
Jane M. Doe, Jane N. Doe, and Jane O. Doe

Michigan State University, LaWrence Nassar, M.D.

Violations of Title IX; 42 U.S.C. §1983; Sexual
Assault; Sexual Battery; Constructive Fraud;
Negligence; Gross Negligence; Negligent Supervision;
Negligent Hiring and Retention; Negligent Failure to
Warn, Train or Educate; Vicarious Liability-Agency-
Respondeat Superior; Express or Implied Agency

Please be advised the law firms of Drew, Cooper & Anding and Manly, Stewart & Finaldi
represent the individuals listed above. As this case involves claims and allegations of sexual abuse and
assault involving minors, vve feel it prudent to proceed anonyrnously.1

Pursuant to MCL 600.6431(1), please accept this letter as a Notice of Intent to File Claim,
Which includes a notarized signature of our clients’ legal representative, Attorney Stephen R. DreW.

 

1 Both Sixth Circuit and Michigan law support proceeding anonymously especially considering two of

our clients are minors.

Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 Page|D.lOl Page 2 of 7

Court of Claims Clerks’ Office

»» » _ , Michigan State University
" 5 Page 2
November 29, 2016 ~

 

This Notice serves as'ou`r' `cli'eiits-"inteht to file claims against Michigan State University and
LaWrence Nassar, M.D., a former employee/agent/representative of Michigan State University. Our
clients’ potential claims include, but are not limited to the following:

Violations of Title IX

42 U.S.C. §1983

Sexual Assault

Sexual Battery

Constructive Fraud

Negligence

Gross Negligence

Negligent Supervision

Negligent Hiring and Retention

Negligent Failure to Warn, Train or Educate
Vicarious Liability-Agency~Respondeat Superior
Express or lmplied Agency

The claims arise out of multiple instances of sexual assault and battery, molestation, and
harassment of our clients by Dr. LaWrence Nassar, an employee/agent/representative, etc. of Michigan
State University from 1996 to as recent as 2015. Specifically, the claims arise out of Dr. Nassar’s
digital penetration of our clients Without proper notice, gloves, lubricant, or chaperones under the guise
of providing medical care and treatment at his office at Michigan State University. lt is our belief Dr.
Nassar used his position of trust and confidence in an abusive manner. '

lt is also our understanding Michigan State University received complaints regarding Dr.
Nassar and failed to properly investigate, discipline, and sanction Dr. Nassar for his abusive and
harassing conduct.

Our clients Were made aware of Dr. Nassar’s conduct on or around September 12, 2016
following publication of a story regarding a recent complaint filed With the Michigan State University
Police (see attached article, “Former USA Gymnastics doctor accused of Abuse,’1 originally published
September 12, 2016).

Our clients have varied injuries include among others shock, humiliation, emotional distress
and related physical manifestations thereof, embarrassment, loss of self-esteem, disgrace, and loss of
enjoyment of life.

Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 Page|D.lOZ Page 3 of 7

Court of Claims Clerks’ Office
9 . Michigan State University
‘ " "` . '; w ~. ' Page 3
November 29, 2016

 

 

Finally, please be advised we continue to receive contact from other victims of Dr. Nassar’s
conduct and reserve the right to amend this Notice to include all future clients who engage our firms
for representation related to this matter.

Respectfully,
DRE , COOPER & G
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sdrew dca~la ers.com

 

Subscribed and sworn to before me
on this 29th day of November 2016.

Carla Jo Cor`nplton, Notary Public'
State of Michigan, County of Kent
My Comrnission Expires 09-29-2017

Acting in the County of Kent

_ /s/ John C. l\/lanly (with permission)
John C. Manly
imanly@manlvstewart.com

 

SRD/rg

Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 PagelD.103 Page 4 of 7

Former USA Gymnastics doctor accused of abuse

 

z Mark Alesia Marisa Kwiatkowski and 'I`im Evans , IndyStar 3.'39p.m. EDT 0c‘tober 27, 2016

 

 

Editor’s note: Since this article published, lndystar has learned that more than 30 people have come
forward with allegations of sexual abuse against Dr. Larry Nassar.

Two former gymnasts, one an Olympic medalist, have accused a prominent, longtime team physician for
USA Gymnastics of sexual abuse.

 

One of the Women filed a civil lawsuit (httgs:/lwww.documentcloud.org/documents/3106054-JANE-JD-

  

(pho¢o_. SSB,, ,:ul~,-Wa,a fo, COl\/lPLAlNT-Signed.html) Thursday in California that was released Monday. The other filed a complaint two
indys¢ar/USArodai/) weeks ego with police in Michigan. `\~ ii 1 '

 

     
  
 

their allegations gainst

The women, in separate interviews With lndyStar, provided detailed accounts that closely mirrored each other as they outl
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Dr. Larry G. Nassar (http_://sportsmed.msu.edu/gages/Nassar/index.html). Nassar served as USA Gymnastics’ team physici §

Games and left his position last September with little public notice.

 

 

   

Dr. Larry Nassar, D.O. (Photo.' Becky Shink/Lansing State Journal 2008 file photo)

Nassar, a faculty member at Michigan State University Who has treated the university’s gymnasts, has not been charged With any crime. His lawyer,
Matthew Borgula, said Nassar “emphatically" denies any wrongdoing.

After being shown a copy of the lawsuit Monday, Borgula said, “Dr. Nassar, to the extent the allegations are against him, adamantly denies any
misconduct at this or any other time."

The women said they were molested during multiple treatments in the 1990s and early 20005. The two women said the doctor fondled their genitals
and breasts. One of them said Nassar also spoke about oral sex and made other inappropriate comments when they were alone, according to court
records. The other woman said she told police Nassar was visibly aroused as he examined her during one medical visit.

The Olympic medalist sued Nassar and USA Gymnastics (httgs://usagym.org/) in Californial where she lives. The Woman, who is unnamed in the
suit, alleges that the lndianapolis-based organization failed to act on suspicions about the doctor’s conduct. Her attorney would not provide lndyStar
with evidence to support that allegation.

"l’m not going to get into the details because, frankly, it would give the defense an unfair advantage,” the attorney, John lVlanly, said.

Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 PagelD.lO4 Page 5 of 7

His client said USA Gymnastics allowed Nassar to examine her alone in private rooms in violation of best practices and the organizations current
standards of conduct.

lND|ANAPOL|S STAR

Doctor disputes USA vanostics cloirn

 

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usa- mnastics-claim/90304998

The other woman, who lives in Louisville, Kentucky, died a police complaint against Nassar last week at Michigan State University. As a teenage
gymnast, she was treated there by Nassar, according to medical records.

The university said it suspended Nassar from "clinical and patient duties” Aug. 30, when it received the criminal complaint He will remain suspended
during the investigation University officials also began an investigation under Title lX of the federal Education Amendments of 1972, which
prohibit discrimination on the basis of gender in educational programs.

On Monday, USA Gymnastics reiterated a statement it made last week iri response to previous questions about Nassar from lndyStar:

“Dr. Nassar is no longer affiliated with USA Gymnastics. Upon learning of athlete concerns, USA Gymnastics immediately notified law enforcement
Since then, we have cooperated fully with the law enforcement agency, including refraining from making further statements or taking any other action
that might interfere with the agency’s investigation. We are grateful to the athletes for coming forward to share their concerns.”

The organization, which serves as the sport’s national governing body and selects the Olympic team, would not respond to specific questions about its
handling of the allegations against Nassar. But after the story was published on lndyStar.com, USA Gymnastics issued a subsequent statement with
more detail.

lt said USA Gymnastics received the allegations in the summer of 2015 and "relieved Dr. Nassar of his duties.”

ln addition to serving as a faculty member at Michigan State’s College of Osteopathic l\/ledicine (httg:l/www.com.msu.edu/), Nassar is a team physician
at Twistars Gymnastics Club (httg://www.twistarsusa.com/] USA in Michigan and worked as a team physician for Michigan State University and Holt
High School. Officials at Michigan State and Twistars said USA Gymnastics did not inform them of the concerns. Nassar resigned from USA
Gymnastics last fall but continued to work with young athletes at Michigan State and Twistars.

ln August, an lnd Star investi ation /sto /news/investi ations/2016/08/04/usa- mnastics-sex-abuse- rotected-coaches/85829732/ revealed that
USA Gymnastics executives repeatedly failed to forward allegations of sexual abuse at its member clubs to law enforcement authorities. The
organization relied on a policy of not alerting authorities unless allegations came directly from an athlete or an athlete’s parent or guardian, according
to testimony in court records.

lndyStar is not naming the California woman at her request and because she was identified only as “Jane Doe" in the lawsuit. The other, Rachael
Denhollanderl said reading lndyStar's investigation inspired her to speak out.

“Over the last 16 years, l’ve realized l have a responsibility, and the question about whether or not to speak publicly cannot center around what’s easy
for me," she said. "This isn’t something l want to do."

‘Dolmaged goods’

Denhollander filed a criminal complaint against Nassar two weeks ago with Michigan State University Police, alleging the doctor sexually assaulted her
when she received treatment for lower back pain as a 15-year-old club-level gymnast in 2000. University officials confirmed that police are conducting
a criminal investigation

She said Nassar gradually became more abusive over five treatments, massaging her genitals, penetrating her vagina and anus with his finger and
thumb and unhooking her bra and massaging her breasts. She said she also relayed those details to police.

Nassar’s attorney said his client never used a procedure that involved penetration.
Denhollander said her mother was present during Nassar’s treatments, but that he positioned himself and her in such a way that only her head and

back were visible.
Buy Photo

Case 1:17-cv-00029-G.]Q-ESC ECF No. 1-1 filed 01/10/17 PagelD.105 Page 6 of 7

 

Rachael Denhollander poses at her horne in Louisvillel Kentucky, on Aug. 23, 2016. She recently filed a police report in Michigan, alleging that she was sexually abused
by Dr. Larry Nassar, formerly the main physician for USA Gymnastics. (Photo: Robert Scheer/Indy$tar)

"l was terrified,” she recalled. l‘l was ashamed. l was very embarrassed. And l was very confused, trying to reconcile what was happening with the
person he was supposed to be. He’s this famous doctor. He’s trusted by my friends. He’s trusted by these other gymnasts. How could he reach this
position in the medical profession, how could he reach this kind of prominence and stature if this is who he is?”

She said she figured the problem must be with her.

“Part of that, l know now, is a very common response that victims have,” Denhollander said. “lt’s much easier in some ways to hide from what’s
happening and just go somewhere else mentally. lt was easier to not have to verbalize and recognize what was happening."

Years later, while Denhollander and her husband, Jacobl were dating an_d contemplating a future together, she nervously told him about the alleged
abuse. They were on swings at a playground.

“She was telling it from the perspective of feeling that she was damaged goods, that she was broken, and would l put up with that," Jacob
Denhollander said. “To me, that Was one of the most heartbreaking things, to hear that had been her experience, and her perspective was, ‘l’m dirty
because of it. l'm damaged.’”

Rachael Denhollander said she knows that if her case is prosecuted, she might be called to testify publicly in court about deeply personal and
sensitive experiences

“l hate that idea," she said. "l hate it. But if l don’t, he can continue."

‘lnstrumental to the success’

Nassar, 53, has been a high-profile figure in gymnastics for decades. During one of the sport’s iconic moments, U.S. Olympic team officials handed
over gymnast Kerri Strug to Nassar for medical attention after she performed on the vault with an injured ankle. At the time, it was believed to be the
performance necessary to secure the gold medal in the 1996 Olympics.

USA Gymnastics President Steve Penny (https://usagym.org/pages/aboutus/pages/steve penny.html) once praised Nassar as being “instrumental to
the success of USA Gymnastics at many levels, both on and off the field of play." ln that 2014 news release (https://usagym.org/pages/post.html?
PostlD=14677&Qrog=h), Penny added that Nassar’s “contributions over the years are immeasurable and will continue to be so."

Nassar is president of the Gymnastics DoctorAutism Foundation (httg://www.gdafoundation.org/), which helps gymnastics clubs establish programs
for special needs children, and his Facebook page is filled with tributes to him.

Case 1:17-cv-OOO29-G.]Q-ESC ECF No. 1-1 filed 01/10/17 PagelD.106 Page 7 of 7

“He’s an extremely professional physician," John Geddert htt ://the mnasticscoach.com/about-`ohn- eddert-the- mnastics-coach/ , the 2012
Olympic team head coach and owner of Twistars Gymnastics, told lndyStar. “Very competent and goes above and beyond the call of duty in treating
athletes. He’s probably one of the most respected gymnastics professionals l’ve ever had to deal with."

lndyStar was unable to find any other allegations of sexual misconduct against Nassar in civil or criminal court records.

ln 2014, he posted on Facebook (https://www.documentcloud.org/documents/3089890-Nassar-2014-Announcement.htmll that he would continue
working with women’s artistic gymnastics “for as long as the program feels l can be an asset to them.“ ln June 2015, Nassar wrote a Facebook post
lhttps://www.documentcloud.org/documents/3089892-Nassar-2015-Announcement.html] saying he intended to stay on as U.S. Olympic team doctor
through the Rio Olympics.

Yet three months later, Nassar was no longer team doctor. Last month, Nassar explained on Facebook
lhttps://www.documentcloud.org/documents/3089895-Nassar-School-Board-Run.html) why he wasn’t at the Rio Olympics. He said he retired so he
could run for a school board position in Holt, Michigan.

“l knew that ifl dedicated the time needed to be at the 2016 Rio Olympics. l would not be able to prepare a campaign for the school board," he wrote.

Borgula, his lawyer, said Nassar’s retirement had nothing to do with allegations of sexual abuse, but he did acknowledge that USA Gymnastics had
informed the doctor of potentially criminal allegations prior to his resignation.

USA Gymnastics would not tell lndyStar which law enforcement agency it reported to. And Borgula said no agency ever contacted Nassar concerning
the allegations USA Gymnastics said it forwarded to police.

How many athletes expressed concerns to USA Gymnastics, and when those concerns were received, is unclear. The two athletes who approached
lndyStar said they did not report their concerns directly to USA Gymnastics.

The lawsuit was filed in Sacramento County against Nassar, USA Gymnastics and the organizations past three presidents, including Penny. None of
the individuals was mentioned by name, but Manly, the attorney, confirmed the identities of the defendants targeted by the suit.

The lawsuit claims USA Gymnastics not only hid complaints about Nassar, it failed to adequately supervise his activities. The lawsuit claims Nassar
"would do anal and vaginal examinations of Plaintiff and other gymnasts in the care of (USA Gymnastics) without gloves, a chaperone, and/or any

form of lubricant.”

The California woman told lndyStar she didn’t report the alleged abuse at the time because she didn’t know it was wrong. According to the lawsuit, the
abuse started when she was 12 or 13 and continued until she was 18.

“lt felt like a privilege to be seen by him," she said. "l trusted him.”

Her lawsuit said the procedures Nassar performed were "well outside any recognized and/or accepted technique and were done for the
Perpetrator‘s own sexual gratitication."

Nassar would "fondle and grope Plaintiff’s feet, ankles, thighs, buttocks, hipsl waist, breasts, arms, shoulders and neck, placing Plaintiff under the
impression this inappropriate contact was part of treatment," according to the suit.

The lawsuit also claims Nassar talked to the California gymnast about sex, describing oral sex and telling her that other underage gymnasts
were doing it.

The California woman told lndyStar it took her more than a decade to understand what Nassar had done. She never told anyone until July. And she
wept as she tried to talk about how it affected her life.

The lawsuit says she “suffered immensely” from anxietyl depression, a lack of trust and “self-medicating behavior."

“lt’s a lot,” she said.

Call lndyStar reporter MarkA/esia at (317) 444-6311. Follow him on Twitter: @marka/esia (httgs://twitter.com/markalesia!.

Ca// IndyStar reporter Marisa Kwiatkowski at (317) 444-6135. Follow her on Twitter.' @/ridyMarisaK (hftgs://twitter.com/lndyMarisaKl.

Ca/l IndyStar reporter Tim Evans at (317) 444-6204. Follow him on Twitter.' @starwatcht/'m (https://twitter.com/starwatchtiml.

